               Case 23-17422-RG                   Doc 1    Filed 08/25/23 Entered 08/25/23 16:39:46                               Desc Main
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Fill in this information to identify your case:

United States Bankruptcy Court for the:

DISTRICT OF NEW JERSEY, NEWARK DIVISION

Case number (if known)                                                     Chapter      11
                                                                                                                          Check if this an amended
                                                                                                                             filing




Official Form 201
Voluntary Petition for Non-Individuals Filing for Bankruptcy                                                                                             06/22
If more space is needed, attach a separate sheet to this form. On the top of any additional pages, write the debtor's name and the case number (if known).
For more information, a separate document, Instructions for Bankruptcy Forms for Non-Individuals, is available.


1.   Debtor's name                Deldor Wellness, Inc.

2.   All other names debtor
     used in the last 8 years
     Include any assumed
     names, trade names and
     doing business as names

3.   Debtor's federal Employer
     Identification Number     XX-XXXXXXX
     (EIN)


4.   Debtor's address             Principal place of business                                    Mailing address, if different from principal place of
                                                                                                 business

                                  26 Washington St
                                  Tenafly, NJ 07670-3213
                                  Number, Street, City, State & ZIP Code                         P.O. Box, Number, Street, City, State & ZIP Code

                                  Bergen                                                         Location of principal assets, if different from principal
                                  County                                                         place of business

                                                                                                 Number, Street, City, State & ZIP Code


5.   Debtor's website (URL)       https://deldorwellnessnj.com


6.   Type of debtor                Corporation (including Limited Liability Company (LLC) and Limited Liability Partnership (LLP))
                                   Partnership (excluding LLP)
                                   Other. Specify:




Official Form 201                           Voluntary Petition for Non-Individuals Filing for Bankruptcy                                             page 1
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Debtor    Deldor Wellness, Inc.                                                                         Case number ( if known )
          Name


7.   Describe debtor's business        A. Check one:
                                        Health Care Business (as defined in 11 U.S.C. § 101(27A))
                                        Single Asset Real Estate (as defined in 11 U.S.C. § 101(51B))
                                        Railroad (as defined in 11 U.S.C. § 101(44))
                                        Stockbroker (as defined in 11 U.S.C. § 101(53A))
                                        Commodity Broker (as defined in 11 U.S.C. § 101(6))
                                        Clearing Bank (as defined in 11 U.S.C. § 781(3))
                                        None of the above
                                       B. Check all that apply
                                        Tax-exempt entity (as described in 26 U.S.C. §501)
                                        Investment company, including hedge fund or pooled investment vehicle (as defined in 15 U.S.C. §80a-3)
                                        Investment advisor (as defined in 15 U.S.C. §80b-2(a)(11))

                                       C. NAICS (North American Industry Classification System) 4-digit code that best describes debtor. See
                                          http://www.uscourts.gov/four-digit-national-association-naics-codes.



8.   Under which chapter of the        Check one:
     Bankruptcy Code is the
     debtor filing?
                                        Chapter 7
     A debtor who is a “ small          Chapter 9
     business debtor”must check
     the first sub-box. A debtor as
                                        Chapter 11. Check all that apply:
     defined in § 1182(1) who                                    The debtor is a small business debtor as defined in 11 U.S.C. § 101(51D), and its aggregate
     elects to proceed under                                      noncontingent liquidated debts (excluding debts owed to insiders or affiliates) are less than
     subchapter V of chapter 11                                   $3,024,725. If this sub-box is selected, attach the most recent balance sheet, statement of operations,
     (whether or not the debtor is a                              cash-flow statement, and federal income tax return or if any of these documents do not exist, follow the
     “small business debtor” ) must                               procedure in 11 U.S.C. § 1116(1)(B).
     check the second sub-box.
                                                             The debtor is a debtor as defined in 11 U.S.C. § 1182(1), its aggregate noncontingent liquidated debts
                                                                  (excluding debts owed to insiders or affiliates) are less than $7,500,000, and it chooses to proceed
                                                                  under Subchapter V of Chapter 11. If this sub-box is selected, attach the most recent balance
                                                                  sheet, statement of operations, cash-flow statement, and federal income tax return, or if any of these
                                                                  documents do not exist, follow the procedure in 11 U.S.C. § 1116(1)(B).
                                                                 A plan is being filed with this petition.
                                                                 Acceptances of the plan were solicited prepetition from one or more classes of creditors, in
                                                                  accordance with 11 U.S.C. § 1126(b).
                                                                 The debtor is required to file periodic reports (for example, 10K and 10Q) with the Securities and
                                                                  Exchange Commission according to § 13 or 15(d) of the Securities Exchange Act of 1934. File the
                                                                  Attachment to Voluntary Petition for Non-Individuals Filing for Bankruptcy under Chapter 11 (Official
                                                                  Form 201A) with this form.
                                                                 The debtor is a shell company as defined in the Securities Exchange Act of 1934 Rule 12b-2.
                                        Chapter 12
9.   Were prior bankruptcy              No.
     cases filed by or against the
     debtor within the last 8          Yes.
     years?
     If more than 2 cases, attach a
     separate list.                             District   Newark                          When      12/21/22                      Case number   22-20018
                                                District                                   When                                    Case number




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Debtor    Deldor Wellness, Inc.                                                                             Case number ( if known )
          Name

10. Are any bankruptcy cases
    pending or being filed by a
                                           No
    business partner or an                  Yes.
    affiliate of the debtor?




     List all cases. If more than 1,
     attach a separate list                          Debtor                                                                        Relationship
                                                     District                                  When                                Case number, if known


11. Why is the case filed in           Check all that apply:
    this district?
                                             Debtor has had its domicile, principal place of business, or principal assets in this district for 180 days immediately
                                              preceding the date of this petition or for a longer part of such 180 days than in any other district.
                                             A bankruptcy case concerning debtor's affiliate, general partner, or partnership is pending in this district.


12. Does the debtor own or
    have possession of any
                                       No
                                                    Answer below for each property that needs immediate attention. Attach additional sheets if needed.
    real property or personal           Yes.
    property that needs
    immediate attention?                            Why does the property need immediate attention? (Check all that apply.)
                                                     It poses or is alleged to pose a threat of imminent and identifiable hazard to public health or safety.
                                                      What is the hazard?
                                                     It needs to be physically secured or protected from the weather.
                                                     It includes perishable goods or assets that could quickly deteriorate or lose value without attention (for example,
                                                      livestock, seasonal goods, meat, dairy, produce, or securities-related assets or other options).
                                                     Other
                                                    Where is the property?
                                                                                      Number, Street, City, State & ZIP Code
                                                    Is the property insured?
                                                     No
                                                     Yes.      Insurance agency
                                                                Contact name
                                                                Phone



          Statistical and administrative information

13. Debtor's estimation of             .        Check one:
    available funds
                                                Funds will be available for distribution to unsecured creditors.
                                                 After any administrative expenses are paid, no funds will be available to unsecured creditors.

14. Estimated number of                1-49                                               1,000-5,000                                  25,001-50,000
    creditors                                                                              5001-10,000                                  50,001-100,000
                                        50-99
                                        100-199                                           10,001-25,000                                More than100,000
                                        200-999

15. Estimated Assets                   $0 - $50,000                                       $1,000,001 - $10 million                     $500,000,001 - $1 billion
                                        $50,001 - $100,000                                $10,000,001 - $50 million                    $1,000,000,001 - $10 billion
                                        $100,001 - $500,000                               $50,000,001 - $100 million                   $10,000,000,001 - $50 billion
                                        $500,001 - $1 million                             $100,000,001 - $500 million                  More than $50 billion

16. Estimated liabilities               $0 - $50,000                                      $1,000,001 - $10 million                     $500,000,001 - $1 billion

Official Form 201                                 Voluntary Petition for Non-Individuals Filing for Bankruptcy                                                        page 3
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Debtor   Deldor Wellness, Inc.                                                        Case number ( if known )
         Name

                             $50,001 - $100,000                       $10,000,001 - $50 million                 $1,000,000,001 - $10 billion
                             $100,001 - $500,000                      $50,000,001 - $100 million                $10,000,000,001 - $50 billion
                            $500,001 - $1 million                     $100,000,001 - $500 million               More than $50 billion




Official Form 201                   Voluntary Petition for Non-Individuals Filing for Bankruptcy                                            page 4
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Debtor    Deldor Wellness, Inc.                                                                           Case number ( if known )
          Name



          Request for Relief, Declaration, and Signatures

WARNING -- Bankruptcy fraud is a serious crime. Making a false statement in connection with a bankruptcy case can result in fines up to $500,000 or imprisonment
           for up to 20 years, or both. 18 U.S.C. §§ 152, 1341, 1519, and 3571.

17. Declaration and signature
    of authorized                 The debtor requests relief in accordance with the chapter of title 11, United States Code, specified in this petition.
    representative of debtor
                                  I have been authorized to file this petition on behalf of the debtor.

                                  I have examined the information in this petition and have a reasonable belief that the information is true and correct.

                                  I declare under penalty of perjury that the foregoing is true and correct.

                                  Executed on       August 25, 2023
                                                    MM / DD / YYYY


                              X /s/
                                  Signature of authorized representative of debtor                               Printed name

                                  Title




18. Signature of attorney     X /s/ Brian G. Hannon                                                                Date August 25, 2023
                                  Signature of attorney for debtor                                                      MM / DD / YYYY

                                  Brian G. Hannon
                                  Printed name

                                  Norgaard, O'Boyle & Hannon
                                  Firm name


                                  184 Grand Ave
                                  Englewood, NJ 07631-3578
                                  Number, Street, City, State & ZIP Code


                                  Contact phone                                      Email address         bhannon@norgaardfirm.com

                                  BG-3645
                                  Bar number and State




Official Form 201                           Voluntary Petition for Non-Individuals Filing for Bankruptcy                                                    page 5
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    Fill in this information to identify the case:

Debtor name       Deldor Wellness, Inc.

United States Bankruptcy Court for the:      DISTRICT OF NEW JERSEY, NEWARK DIVISION

Case number (if known)
                                                                                                                                  Check if this is an
                                                                                                                                      amended filing



Official Form 202
Declaration Under Penalty of Perjury for Non-Individual Debtors                                                                                          12/15

An individual who is authorized to act on behalf of a non-individual debtor, such as a corporation or partnership, must sign and submit this form
for the schedules of assets and liabilities, any other document that requires a declaration that is not included in the document, and any
amendments of those documents. This form must state the individual’     s position or relationship to the debtor, the identity of the document, and
the date. Bankruptcy Rules 1008 and 9011.

WARNING -- Bankruptcy fraud is a serious crime. Making a false statement, concealing property, or obtaining money or property by fraud in
connection with a bankruptcy case can result in fines up to $500,000 or imprisonment for up to 20 years, or both. 18 U.S.C. §§ 152, 1341, 1519,
and 3571.



             Declaration and signature


      I am the president, another officer, or an authorized agent of the corporation; a member or an authorized agent of the partnership; or another individual
      serving as a representative of the debtor in this case.

      I have examined the information in the documents checked below and I have a reasonable belief that the information is true and correct:

              Schedule A/B: Assets–Real and Personal Property (Official Form 206A/B)

              Schedule D: Creditors Who Have Claims Secured by Property(Official Form 206D)

              Schedule E/F: Creditors Who Have Unsecured Claims (Official Form 206E/F)

              Schedule G: Executory Contracts and Unexpired Leases (Official Form 206G)

              Schedule H: Codebtors (Official Form 206H)

              Summary of Assets and Liabilities for Non-Individuals (Official Form 206Sum)
              Amended Schedule
              Chapter 11 or Chapter 9 Cases: List of Creditors Who Have the 20 Largest Unsecured Claims and Are Not Insiders (Official Form 204)
              Other document that requires a declaration

      I declare under penalty of perjury that the foregoing is true and correct.

       Executed on       August 25, 2023                   X /s/
                                                             Signature of individual signing on behalf of debtor


                                                              Printed name


                                                              Position or relationship to debtor
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            Fill in this information to identify the case:

 Debtor name            Deldor Wellness, Inc.

 United States Bankruptcy Court for the:                       DISTRICT OF NEW JERSEY, NEWARK DIVISION

 Case number (if known)
                                                                                                                                                                                    Check if this is an
                                                                                                                                                                                        amended filing



Official Form 206Sum
Summary of Assets and Liabilities for Non-Individuals                                                                                                                                                    12/15

 Part 1:      Summary of Assets


 1.    Schedule A/B: Assets-Real and Personal Property (Official Form 206A/B)

       1a. Real property:
           Copy line 88 fromSchedule A/B.............................................................................................................................                    $                  0.00

       1b. Total personal property:
           Copy line 91A fromSchedule A/B.........................................................................................................................                       $          21,485.84

       1c. Total of all property:
           Copy line 92 fromSchedule A/B...........................................................................................................................                      $          21,485.84


 Part 2:      Summary of Liabilities


 2.    Schedule D: Creditors Who Have Claims Secured by Property (Official Form 206D)
       Copy the total dollar amount listed in Column A,Amount of claim, from line 3 of Schedule D....................................                                                    $          90,761.23


 3.    Schedule E/F: Creditors Who Have Unsecured Claims (Official Form 206E/F)

       3a. Total claim amounts of priority unsecured claims:
           Copy the total claims from Part 1 from line 5a ofSchedule E/F..........................................................................                                       $                  0.00

       3b. Total amount of claims of nonpriority amount of unsecured claims:
           Copy the total of the amount of claims from Part 2 from line 5b of
                                                                           Schedule E/F................................................                                                 +$         485,095.74


 4.    Total liabilities .......................................................................................................................................................
       Lines 2 + 3a + 3b                                                                                                                                                            $            575,856.97




 Official Form 206Sum                                               Summary of Assets and Liabilities for Non-Individuals                                                                                page 1
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        Fill in this information to identify the case:
 Debtor name Deldor Wellness, Inc.
 United States Bankruptcy Court for the: DISTRICT OF NEW JERSEY,                                                                                 Check if this is an
                                               NEWARK DIVISION
 Case number (if known):                                                                                                                             amended filing




Official Form 204
Chapter 11 or Chapter 9 Cases: List of Creditors Who Have the 20 Largest Unsecured Claims and
Are Not Insiders                                                                           12/15

A list of creditors holding the 20 largest unsecured claims must be filed in a Chapter 11 or Chapter 9 case. Include claims which
the debtor disputes. Do not include claims by any person or entity who is an insider, as defined in 11 U.S.C. § 101(31). Also, do
not include claims by secured creditors, unless the unsecured claim resulting from inadequate collateral value places the creditor
among the holders of the 20 largest unsecured claims.

 Name of creditor and            Name, telephone number Nature of claim                 Indicate if claim   Amount of claim
 complete mailing address,       and email address of   (for example, trade debts,       is contingent,     If the claim is fully unsecured, fill in only unsecured claim amount. If
 including zip code              creditor contact       bank loans, professional        unliquidated, or    claim is partially secured, fill in total claim amount and deduction for
                                                        services, and government            disputed        value of collateral or setoff to calculate unsecured claim.
                                                        contracts)                                          Total claim, if            Deduction for value         Unsecured claim
                                                                                                            partially secured          of collateral or setoff
 Alma Laser                                                   Business Debt                                                                                                      $0.00
 485 Day Rd
 Buffalo Grove, IL
 60089
 Amerifi Capital, LLC                                         Business Debt                                         $38,761.23                        $0.00              $38,761.23
 330 Main St
 Hartford, CT
 06106-1860
 Block, Inc.                                                  Business Debt                                                                                                      $0.00
 1455 Market St Ste
 600
 San Francisco, CA
 94103-1332
 Cherrywood                                                   Business Debt                                                                                                      $0.00
 Enterprises, LLC
 c/o Sklar Law, LLC
 20 Brace Rd Ste 205
 Cherry Hill, NJ
 08034-2634
 Clicklease, LLC                                              Business Debt                                                                                              $12,444.08
 c/o The Law Offices
 of Joseph A.
 Molinar
 648 Wyckoff Ave
 Wyckoff, NJ
 07481-1428
 FC Marketplace,                                              Business Debt                                                                                                      $0.00
 LLC
 747 Front St Fl 4
 San Francisco, CA
 94111-1922
 Funding Circle                                               Business Debt                                                                                                      $0.00
 85 2nd St Ste 400
 San Francisco, CA
 94105-3462




Official form 204                               Chapter 11 or Chapter 9 Cases: List of Creditors Who Have the 20 Largest Unsecured claims                                 page 1

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 Debtor    Deldor Wellness, Inc.                                                                             Case number (if known)
           Name

 Name of creditor and            Name, telephone number Nature of claim                 Indicate if claim   Amount of claim
 complete mailing address,       and email address of   (for example, trade debts,       is contingent,     If the claim is fully unsecured, fill in only unsecured claim amount. If
 including zip code              creditor contact       bank loans, professional        unliquidated, or    claim is partially secured, fill in total claim amount and deduction for
                                                        services, and government            disputed        value of collateral or setoff to calculate unsecured claim.
                                                        contracts)                                          Total claim, if            Deduction for value         Unsecured claim
                                                                                                            partially secured          of collateral or setoff
 MedShift                                                     Business Debt                                                                                              $22,814.54
 525 N Tryon St Ste
 1600
 Charlotte, NC
 28202-0213
 MedShift                                                     Business Debt                                                                                            $143,755.42
 525 N Tryon St Ste
 1600
 Charlotte, NC
 28202-0213
 MedShift                                                                                                                                                                $51,390.48
 525 N Tryon St Ste
 1600
 Charlotte, NC
 28202-0213
 Merk Funding, Inc.                                           Business Debt            Disputed                     $52,000.00                        $0.00              $52,000.00
 3611 14th Ave
 Brooklyn, NY
 11218-3773
 REMEX Inc.                                                   Business Debt                                                                                                      $0.00
 307 Wall St
 Princeton, NJ
 08540-1515
 Savit Collection                                             Business Debt                                                                                                      $0.00
 Agency
 PO Box 250
 East Brunswick, NJ
 08816-0250
 Swift Financial                                              Business Debt                                                                                              $19,114.20
 3505 Silverside Rd
 Ste 200
 Wilmington, DE
 19810-4905
 Telecom                                                      Business Debt                                                                                                      $0.00
 PO Box 4500
 Allen, TX
 75013-1311
 TKK Broadway                    Herbert B.                                            Disputed                                                                          $14,254.54
 Management, LLC                 Raymond, Esq.
 c/o Raymond &
 Raymond
 7 Glenwood Ave Fl
 4
 East Orange, NJ
 07017-1061
 True Business                                                Business Debt                                                                                                      $0.00
 Funding, LLC
 301 Mill Rd Ste U-5
 Hewlett, NY
 11557-1291



Official form 204                               Chapter 11 or Chapter 9 Cases: List of Creditors Who Have the 20 Largest Unsecured claims                                 page 2

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 Debtor    Deldor Wellness, Inc.                                                                             Case number (if known)
           Name

 Name of creditor and            Name, telephone number Nature of claim                 Indicate if claim   Amount of claim
 complete mailing address,       and email address of   (for example, trade debts,       is contingent,     If the claim is fully unsecured, fill in only unsecured claim amount. If
 including zip code              creditor contact       bank loans, professional        unliquidated, or    claim is partially secured, fill in total claim amount and deduction for
                                                        services, and government            disputed        value of collateral or setoff to calculate unsecured claim.
                                                        contracts)                                          Total claim, if            Deduction for value         Unsecured claim
                                                                                                            partially secured          of collateral or setoff
 Utility Self                                                 Business Debt                                                                                                      $0.00
 Reported/Public
 Service Ent
 PO Box 4500
 Allen, TX
 75013-1311
 Viora Sinclair                                               Business Debt                                                                                              $56,511.00
 Company
 213 W 35th St
 New York, NY
 10001-1903
 Yunis Properties,                                            Business Debt                                                                                            $164,811.48
 Inc.
 32 Washington St
 Tenafly, NJ
 07670-3216




Official form 204                               Chapter 11 or Chapter 9 Cases: List of Creditors Who Have the 20 Largest Unsecured claims                                 page 3

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            Fill in this information to identify the case:

 Debtor name          Deldor Wellness, Inc.

 United States Bankruptcy Court for the:           DISTRICT OF NEW JERSEY, NEWARK DIVISION

 Case number (if known)
                                                                                                                                   Check if this is an
                                                                                                                                        amended filing



Official Form 206A/B
Schedule A/B: Assets - Real and Personal Property                                                                                                        12/15
Disclose all property, real and personal, which the debtor owns or in which the debtor has any other legal, equitable, or future interest. Include
all property in which the debtor holds rights and powers exercisable for the debtor's own benefit. Also include assets and properties which have
no book value, such as fully depreciated assets or assets that were not capitalized. In Schedule A/B, list any executory contracts or unexpired
leases. Also list them on Schedule G: Executory Contracts and Unexpired Leases (Official Form 206G).

Be as complete and accurate as possible. If more space is needed, attach a separate sheet to this form. At the top of any pages added, write the
debtor’s name and case number (if known). Also identify the form and line number to which the additional information applies. If an additional
sheet is attached, include the amounts from the attachment in the total for the pertinent part.

 For Part 1 through Part 11, list each asset under the appropriate category or attach separate supporting schedules, such as a fixed asset
 schedule or depreciation schedule, that gives the details for each asset in a particular category. List each asset only once. In valuing the
 debtor’ s interest, do not deduct the value of secured claims. See the instructions to understand the terms used in this form.
 Part 1:       Cash and cash equivalents
1. Does the debtor have any cash or cash equivalents?

       No. Go to Part 2.
      Yes Fill in the information below.
      All cash or cash equivalents owned or controlled by the debtor                                                                    Current value of
                                                                                                                                        debtor's interest

 3.         Checking, savings, money market, or financial brokerage accounts (Identify all)
            Name of institution (bank or brokerage firm)          Type of account                            Last 4 digits of account
                                                                                                             number


            3.1.     Citizens Bank                                        Business Checking                  5621                                   $9,730.84



 4.         Other cash equivalents (Identify all)

 5.         Total of Part 1.                                                                                                                     $9,730.84
            Add lines 2 through 4 (including amounts on any additional sheets). Copy the total to line 80.

 Part 2:           Deposits and Prepayments
6. Does the debtor have any deposits or prepayments?

       No. Go to Part 3.
      Yes Fill in the information below.
 7.         Deposits, including security deposits and utility deposits
            Description, including name of holder of deposit


            7.1.     Landlord                                                                                                                       $3,200.00



 8.         Prepayments, including prepayments on executory contracts, leases, insurance, taxes, and rent
            Description, including name of holder of prepayment

 9.         Total of Part 2.                                                                                                                     $3,200.00
            Add lines 7 through 8. Copy the total to line 81.


Official Form 206A/B                                        Schedule A/B Assets - Real and Personal Property                                                page 1
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 Debtor         Deldor Wellness, Inc.                                                       Case number (If known)
                Name

 Part 3:        Accounts receivable
10. Does the debtor have any accounts receivable?

    No. Go to Part 4.
     Yes Fill in the information below.

 Part 4:        Investments
13. Does the debtor own any investments?

    No. Go to Part 5.
     Yes Fill in the information below.

 Part 5:        Inventory, excluding agriculture assets
18. Does the debtor own any inventory (excluding agriculture assets)?

     No. Go to Part 6.
    Yes Fill in the information below.
           General description                      Date of the last        Net book value of      Valuation method used    Current value of
                                                    physical inventory      debtor's interest      for current value        debtor's interest
                                                                            (Where available)

 19.       Raw materials

 20.       Work in progress

 21.       Finished goods, including goods held for resale

 22.       Other inventory or supplies
           Salon Products                                                             $5,000.00                                        $5,000.00



 23.       Total of Part 5.                                                                                                         $5,000.00
           Add lines 19 through 22. Copy the total to line 84.

 24.       Is any of the property listed in Part 5 perishable?
           No
            Yes
 25.       Has any of the property listed in Part 5 been purchased within 20 days before the bankruptcy was filed?
           No
            Yes. Book value                                    Valuation method                        Current Value

 26.       Has any of the property listed in Part 5 been appraised by a professional within the last year?
           No
            Yes
 Part 6:        Farming and fishing-related assets (other than titled motor vehicles and land)
27. Does the debtor own or lease any farming and fishing-related assets (other than titled motor vehicles and land)?

    No. Go to Part 7.
     Yes Fill in the information below.

 Part 7:        Office furniture, fixtures, and equipment; and collectibles
38. Does the debtor own or lease any office furniture, fixtures, equipment, or collectibles?

     No. Go to Part 8.
    Yes Fill in the information below.
Official Form 206A/B                                        Schedule A/B Assets - Real and Personal Property                                page 2
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 Debtor         Deldor Wellness, Inc.                                                            Case number (If known)
                Name

            General description                                              Net book value of              Valuation method used    Current value of
                                                                             debtor's interest              for current value        debtor's interest
                                                                             (Where available)

 39.        Office furniture
            Office Furniture/Fixtures/Equipment                                          $3,305.00          Forced Liquidati                    $3,305.00



 40.        Office fixtures

 41.        Office equipment, including all computer equipment and
            communication systems equipment and software

 42.        Collectibles Examples: Antiques and figurines; paintings, prints, or other artwork; books,
            pictures, or other art objects; china and crystal; stamp, coin, or baseball card collections;
            other collections, memorabilia, or collectibles

 43.        Total of Part 7.                                                                                                                    $3,305.00
            Add lines 39 through 42. Copy the total to line 86.

 44.        Is a depreciation schedule available for any of the property listed in Part 7?
            No
             Yes
 45.        Has any of the property listed in Part 7 been appraised by a professional within the last year?
            No
             Yes
 Part 8:        Machinery, equipment, and vehicles
46. Does the debtor own or lease any machinery, equipment, or vehicles?

    No. Go to Part 9.
     Yes Fill in the information below.

 Part 9:        Real property
54. Does the debtor own or lease any real property?

    No. Go to Part 10.
     Yes Fill in the information below.

 Part 10:       Intangibles and intellectual property
59. Does the debtor have any interests in intangibles or intellectual property?

    No. Go to Part 11.
     Yes Fill in the information below.

 Part 11:       All other assets
70. Does the debtor own any other assets that have not yet been reported on this form?
    Include all interests in executory contracts and unexpired leases not previously reported on this form.

     No. Go to Part 12.
    Yes Fill in the information below.
                                                                                                                                     Current value of
                                                                                                                                     debtor's interest


 71.        Notes receivable
            Description (include name of obligor)


Official Form 206A/B                                        Schedule A/B Assets - Real and Personal Property                                         page 3
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 Debtor         Deldor Wellness, Inc.                                                      Case number (If known)
                Name

 72.       Tax refunds and unused net operating losses (NOLs)
           Description (for example, federal, state, local)

 73.       Interests in insurance policies or annuities

 74.       Causes of action against third parties (whether or not a lawsuit
           has been filed)

 75.       Other contingent and unliquidated claims or causes of action of
           every nature, including counterclaims of the debtor and rights to
           set off claims

 76.       Trusts, equitable or future interests in property

 77.       Other property of any kind not already listed Examples: Season tickets,
           country club membership

           Storage Unit Contents                                                                                                $250.00



 78.       Total of Part 11.                                                                                               $250.00
           Add lines 71 through 77. Copy the total to line 90.

 79.       Has any of the property listed in Part 11 been appraised by a professional within the last year?
           No
            Yes




Official Form 206A/B                                        Schedule A/B Assets - Real and Personal Property                     page 4
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 Debtor           Deldor Wellness, Inc.                                                                                Case number (If known)
                  Name



 Part 12:         Summary

In Part 12 copy all of the totals from the earlier parts of the form
      Type of property                                                                                Current value of                     Current value of real
                                                                                                      personal property                    property

 80. Cash, cash equivalents, and financial assets.
     Copy line 5, Part 1                                                                                                $9,730.84

 81. Deposits and prepayments. Copy line 9, Part 2.                                                                     $3,200.00

 82. Accounts receivable. Copy line 12, Part 3.                                                                                $0.00

 83. Investments. Copy line 17, Part 4.                                                                                        $0.00

 84. Inventory. Copy line 23, Part 5.                                                                                   $5,000.00

 85. Farming and fishing-related assets. Copy line 33, Part 6.                                                                 $0.00

 86. Office furniture, fixtures, and equipment; and collectibles.
     Copy line 43, Part 7.                                                                                              $3,305.00

 87. Machinery, equipment, and vehicles. Copy line 51, Part 8.                                                                 $0.00

 88. Real property. Copy line 56, Part 9.........................................................................................>                                 $0.00

 89. Intangibles and intellectual property. Copy line 66, Part 10.                                                             $0.00

 90. All other assets. Copy line 78, Part 11.                                                     +                        $250.00

 91. Total. Add lines 80 through 90 for each column                                                                $21,485.84          + 91b.                      $0.00


 92. Total of all property on Schedule A/B. Add lines 91a+91b=92                                                                                                    $21,485.84




Official Form 206A/B                                                Schedule A/B Assets - Real and Personal Property                                                       page 5
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           Fill in this information to identify the case:

 Debtor name          Deldor Wellness, Inc.

 United States Bankruptcy Court for the:            DISTRICT OF NEW JERSEY, NEWARK DIVISION

 Case number (if known)
                                                                                                                                        Check if this is an
                                                                                                                                             amended filing

Official Form 206D
Schedule D: Creditors Who Have Claims Secured by Property                                                                                                     12/15
Be as complete and accurate as possible.
1. Do any creditors have claims secured by debtor's property?
        No. Check this box and submit page 1 of this form to the court with debtor's other schedules. Debtor has nothing else to report on this form.
       Yes. Fill in all of the information below.
 Part 1:      List Creditors Who Have Secured Claims
                                                                                                                   Column A                    Column B
 2. List in alphabetical order all creditors who have secured claims. If a creditor has more than one secured
 claim, list the creditor separately for each claim.                                                               Amount of claim             Value of collateral
                                                                                                                                               that supports this
                                                                                                                   Do not deduct the value     claim
                                                                                                                   of collateral.
 2.1    Amerifi Capital, LLC                          Describe debtor's property that is subject to a lien                  $38,761.23                        $0.00
        Creditor's Name


        330 Main St
        Hartford, CT 06106-1860
        Creditor's mailing address                    Describe the lien

                                                      Is the creditor an insider or related party?
                                                      No
        Creditor's email address, if known             Yes
                                                      Is anyone else liable on this claim?
        Date debt was incurred                        No
                                                       Yes. Fill out Schedule H: Codebtors (Official Form 206H)
        Last 4 digits of account number
        3754
        Do multiple creditors have an                 As of the petition filing date, the claim is:
        interest in the same property?                Check all that apply
        No                                            Contingent
         Yes. Specify each creditor,                  Unliquidated
        including this creditor and its relative       Disputed
        priority.



 2.2    Cedar Advance, LLC                            Describe debtor's property that is subject to a lien                    unknown                         $0.00
        Creditor's Name                               Business Debt

        2917 Avenue I
        Brooklyn, NY 11210-2934
        Creditor's mailing address                    Describe the lien

                                                      Is the creditor an insider or related party?
                                                      No
        Creditor's email address, if known             Yes
                                                      Is anyone else liable on this claim?
        Date debt was incurred                        No
                                                       Yes. Fill out Schedule H: Codebtors (Official Form 206H)
        Last 4 digits of account number
        3556
        Do multiple creditors have an                 As of the petition filing date, the claim is:
        interest in the same property?                Check all that apply
        No                                            Contingent
         Yes. Specify each creditor,                  Unliquidated
        including this creditor and its relative
Officialpriority.
         Form 206D
                                                       Disputed
                                                   Schedule D: Creditors Who Have Claims Secured by Property                                                  page 1 of 5
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             Name




 2.3   CHTD Company                                 Describe debtor's property that is subject to a lien                     unknown           $0.00
       Creditor's Name                              Business Debt

       PO Box 2576
       Springfield, IL 62708-2576
       Creditor's mailing address                   Describe the lien

                                                    Is the creditor an insider or related party?
                                                    No
       Creditor's email address, if known            Yes
                                                    Is anyone else liable on this claim?
       Date debt was incurred                       No
                                                     Yes. Fill out Schedule H: Codebtors (Official Form 206H)
       Last 4 digits of account number
       5114
       Do multiple creditors have an                As of the petition filing date, the claim is:
       interest in the same property?               Check all that apply
       No                                           Contingent
        Yes. Specify each creditor,                 Unliquidated
       including this creditor and its relative      Disputed
       priority.



 2.4   Everest Business Funding                     Describe debtor's property that is subject to a lien                     unknown           $0.00
       Creditor's Name                              Business Debt

       8200 NW 52nd Ter Fl 2
       Doral, FL 33166-7852
       Creditor's mailing address                   Describe the lien

                                                    Is the creditor an insider or related party?
                                                    No
       Creditor's email address, if known            Yes
                                                    Is anyone else liable on this claim?
       Date debt was incurred                        No
                                                    Yes. Fill out Schedule H: Codebtors (Official Form 206H)
       Last 4 digits of account number
       5396
       Do multiple creditors have an                As of the petition filing date, the claim is:
       interest in the same property?               Check all that apply
       No                                           Contingent
        Yes. Specify each creditor,                 Unliquidated
       including this creditor and its relative      Disputed
       priority.




 2.5
       Financial Pacific Leasing,
       Inc.                                         Describe debtor's property that is subject to a lien                     unknown           $0.00
       Creditor's Name                              Business Debt

       PO Box 4568
       Federal Way, WA
       98063-4568
       Creditor's mailing address                   Describe the lien

                                                    Is the creditor an insider or related party?
                                                    No
       Creditor's email address, if known            Yes


Official Form 206D                     Additional Page ofSchedule D: Creditors Who Have Claims Secured by Property                             page 2 of 5
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             Name

                                                    Is anyone else liable on this claim?
       Date debt was incurred                       No
                                                     Yes. Fill out Schedule H: Codebtors (Official Form 206H)
       Last 4 digits of account number
       9295
       Do multiple creditors have an                As of the petition filing date, the claim is:
       interest in the same property?               Check all that apply
       No                                           Contingent
        Yes. Specify each creditor,                 Unliquidated
       including this creditor and its relative      Disputed
       priority.



       Financial Pacific Leasing,
 2.6                                                Describe debtor's property that is subject to a lien                      unknown             $0.00
       Inc.
       Creditor's Name                              Business Debt

       PO Box 4568
       Federal Way, WA
       98063-4568
       Creditor's mailing address                   Describe the lien

                                                    Is the creditor an insider or related party?
                                                    No
       Creditor's email address, if known            Yes
                                                    Is anyone else liable on this claim?
       Date debt was incurred                       No
                                                     Yes. Fill out Schedule H: Codebtors (Official Form 206H)
       Last 4 digits of account number
       4911
       Do multiple creditors have an                As of the petition filing date, the claim is:
       interest in the same property?               Check all that apply
       No                                           Contingent
        Yes. Specify each creditor,                 Unliquidated
       including this creditor and its relative      Disputed
       priority.



 2.7   Merk Funding, Inc.                           Describe debtor's property that is subject to a lien                     $52,000.00           $0.00
       Creditor's Name


       3611 14th Ave
       Brooklyn, NY 11218-3773
       Creditor's mailing address                   Describe the lien

                                                    Is the creditor an insider or related party?
                                                    No
       Creditor's email address, if known            Yes
                                                    Is anyone else liable on this claim?
       Date debt was incurred                       No
                                                     Yes. Fill out Schedule H: Codebtors (Official Form 206H)
       Last 4 digits of account number
       4725
       Do multiple creditors have an                As of the petition filing date, the claim is:
       interest in the same property?               Check all that apply
       No                                           Contingent
        Yes. Specify each creditor,                 Unliquidated
       including this creditor and its relative     Disputed
       priority.



 2.8   Quicksilver Capital                          Describe debtor's property that is subject to a lien                      unknown             $0.00

Official Form 206D                     Additional Page ofSchedule D: Creditors Who Have Claims Secured by Property                                page 3 of 5
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             Name

       Creditor's Name                              Business Debt

       181 S Franklin Ave
       Valley Stream, NY
       11581-1138
       Creditor's mailing address                   Describe the lien

                                                    Is the creditor an insider or related party?
                                                    No
       Creditor's email address, if known            Yes
                                                    Is anyone else liable on this claim?
       Date debt was incurred                       No
                                                     Yes. Fill out Schedule H: Codebtors (Official Form 206H)
       Last 4 digits of account number
       4590
       Do multiple creditors have an                As of the petition filing date, the claim is:
       interest in the same property?               Check all that apply
       No                                           Contingent
        Yes. Specify each creditor,                 Unliquidated
       including this creditor and its relative      Disputed
       priority.



 3.   Total of the dollar amounts from Part 1, Column A, including the amounts from the Additional Page, if any.             $90,761.23

 Part 2:    List Others to Be Notified for a Debt Already Listed in Part 1
 List in alphabetical order any others who must be notified for a debt already listed in Part 1. Examples of entities that may be listed are collection agencies,
 assignees of claims listed above, and attorneys for secured creditors.

 If no others need to notified for the debts listed in Part 1, do not fill out or submit this page. If additional pages are needed, copy this page.
         Name and address                                                                                      On which line in Part 1 did you    Last 4 digits of
                                                                                                               enter the related creditor?        account number for
                                                                                                                                                  this entity
        Corporation Service Company
        PO Box 2576                                                                                          Line   2.7                                 4725
        Springfield, IL 62708-2576

        Corporation Service Company
        801 Adlai Stevenson Dr                                                                               Line   2.7                                 4725
        Springfield, IL 62703-4261

        Corporation Service Company
        PO Box 2576                                                                                          Line   2.3                                 5114
        Springfield, IL 62708-2576

        Corporation Service Company
        801 Adlai Stevenson Dr                                                                               Line   2.3                                 5114
        Springfield, IL 62703-4261

        Corporation Service Company
        PO Box 2576                                                                                          Line   2.4                                 5396
        Springfield, IL 62708-2576

        Corporation Service Company
        801 Adlai Stevenson Dr                                                                               Line   2.4                                 5396
        Springfield, IL 62703-4261

        Corporation Service Company
        801 Adlai Stevenson Dr                                                                               Line   2.2                                 3556
        Springfield, IL 62703-4261

        Corporation Service Company
        PO Box 2576                                                                                          Line   2.2                                 3556
        Springfield, IL 62708-2576

Official Form 206D                     Additional Page ofSchedule D: Creditors Who Have Claims Secured by Property                                          page 4 of 5
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        Corporation Service Company
        801 Adlai Stevenson Dr                                                                  Line   2.8              4590
        Springfield, IL 62703-4261

        Corporation Service Company
        PO Box 2576                                                                             Line   2.8              4590
        Springfield, IL 62708-2576

        Erica R. Gilerman, Esq.
        515 Madison Ave Ste 8108                                                                Line   2.1              3754
        New York, NY 10022-5403

        Ershowsky & Verstandig, PLLC
        290 Central Ave Ste 109                                                                 Line   2.7              4725
        Lawrence, NY 11559-8507

        Goldman, Imani & Goldberg, Inc.
        9894 Bissonnet St                                                                       Line   2.4              5396
        Houston, TX 77036-8239

        Lien Solutions
        PO Box 29071                                                                            Line   2.5              9295
        Glendale, CA 91209-9071

        Lien Solutions
        PO Box 29071                                                                            Line   2.6              4911
        Glendale, CA 91209-9071

        Triton Recovery, LLC
        19790 W Dixie Hwy Ste 301                                                               Line   2.1              3754
        Aventura, FL 33180-2293




Official Form 206D                  Additional Page ofSchedule D: Creditors Who Have Claims Secured by Property           page 5 of 5
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    Fill in this information to identify the case:

 Debtor name         Deldor Wellness, Inc.

 United States Bankruptcy Court for the:           DISTRICT OF NEW JERSEY, NEWARK DIVISION

 Case number (if known)
                                                                                                                                                     Check if this is an
                                                                                                                                                        amended filing


Official Form 206E/F
Schedule E/F: Creditors Who Have Unsecured Claims                                                                                                                        12/15
Be as complete and accurate as possible. Use Part 1 for creditors with PRIORITY unsecured claims and Part 2 for creditors with NONPRIORITY unsecured claims.
List the other party to any executory contracts or unexpired leases that could result in a claim. Also list executory contracts on Schedule A/B: Assets - Real and
Personal Property (Official Form 206A/B) and on Schedule G: Executory Contracts and Unexpired Leases (Official Form 206G). Number the entries in Parts 1 and 2
in the boxes on the left. If more space is needed for Part 1 or Part 2, fill out and attach the Additional Page of that Part included in this form.

 Part 1:      List All Creditors with PRIORITY Unsecured Claims

       1. Do any creditors have priority unsecured claims? (See 11 U.S.C. § 507).

          No. Go to Part 2.
           Yes. Go to line 2.

 Part 2:      List All Creditors with NONPRIORITY Unsecured Claims
       3. List in alphabetical order all of the creditors with nonpriority unsecured claims . If the debtor has more than 6 creditors with nonpriority unsecured claims, fill
          out and attach the Additional Page of Part 2.
                                                                                                                                                        Amount of claim

 3.1       Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                    unknown
           Alma Laser                                                          Contingent
                                                                               Unliquidated
           485 Day Rd                                                          Disputed
           Buffalo Grove, IL 60089
                                                                              Basis for the claim:
           Date(s) debt was incurred
           Last 4 digits of account number                                    Is the claim subject to offset?   No  Yes
 3.2       Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                    unknown
           Block, Inc.                                                         Contingent
                                                                               Unliquidated
           1455 Market St Ste 600                                              Disputed
           San Francisco, CA 94103-1332
                                                                              Basis for the claim:
           Date(s) debt was incurred
           Last 4 digits of account number                                    Is the claim subject to offset?   No  Yes
 3.3       Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                    unknown
           Cherrywood Enterprises, LLC                                         Contingent
           c/o Sklar Law, LLC                                                  Unliquidated
           20 Brace Rd Ste 205                                                 Disputed
           Cherry Hill, NJ 08034-2634
                                                                              Basis for the claim:
           Date(s) debt was incurred
           Last 4 digits of account number                                    Is the claim subject to offset?   No  Yes
 3.4       Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                  $12,444.08
           Clicklease, LLC                                                     Contingent
           c/o The Law Offices of Joseph A. Molinar                            Unliquidated
           648 Wyckoff Ave                                                     Disputed
           Wyckoff, NJ 07481-1428
                                                                              Basis for the claim:
           Date(s) debt was incurred
           Last 4 digits of account number     3616                           Is the claim subject to offset?   No  Yes




Official Form 206E/F                                        Schedule E/F: Creditors Who Have Unsecured Claims                                                            page 1 of 5
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 Debtor      Deldor Wellness, Inc.                                                                   Case number (if known)
             Name

 3.5      Nonpriority creditor's name and mailing address                  As of the petition filing date, the claim is: Check all that apply.           unknown
          FC Marketplace, LLC                                               Contingent
                                                                            Unliquidated
          747 Front St Fl 4                                                 Disputed
          San Francisco, CA 94111-1922
                                                                           Basis for the claim:
          Date(s) debt was incurred
          Last 4 digits of account number                                  Is the claim subject to offset?   No  Yes
 3.6      Nonpriority creditor's name and mailing address                  As of the petition filing date, the claim is: Check all that apply.           unknown
          Funding Circle                                                    Contingent
                                                                            Unliquidated
          85 2nd St Ste 400                                                 Disputed
          San Francisco, CA 94105-3462
                                                                           Basis for the claim:
          Date(s) debt was incurred
          Last 4 digits of account number                                  Is the claim subject to offset?   No  Yes
 3.7      Nonpriority creditor's name and mailing address                  As of the petition filing date, the claim is: Check all that apply.           unknown
          Funding Metrics                                                   Contingent
                                                                            Unliquidated
          3220 Tillman Dr Ste 200                                           Disputed
          Bensalem, PA 19020-2028
                                                                           Basis for the claim:
          Date(s) debt was incurred
          Last 4 digits of account number                                  Is the claim subject to offset?   No  Yes
 3.8      Nonpriority creditor's name and mailing address                  As of the petition filing date, the claim is: Check all that apply.           unknown
          Hitachi Capital America Corp.                                     Contingent
                                                                            Unliquidated
          800 Connecticut Ave                                               Disputed
          Norwalk, CT 06854-1631
                                                                           Basis for the claim:
          Date(s) debt was incurred
          Last 4 digits of account number                                  Is the claim subject to offset?   No  Yes
 3.9      Nonpriority creditor's name and mailing address                  As of the petition filing date, the claim is: Check all that apply.           unknown
          Lendini                                                           Contingent
                                                                            Unliquidated
          884 Town Center Dr                                                Disputed
          Langhorne, PA 19047-1748
                                                                           Basis for the claim:
          Date(s) debt was incurred
          Last 4 digits of account number                                  Is the claim subject to offset?   No  Yes
 3.10     Nonpriority creditor's name and mailing address                  As of the petition filing date, the claim is: Check all that apply.           unknown
          Loan Builders/Swift Financial                                     Contingent
                                                                            Unliquidated
          3505 Silverside Rd                                                Disputed
          Wilmington, DE 19810-4905
                                                                           Basis for the claim:
          Date(s) debt was incurred
          Last 4 digits of account number                                  Is the claim subject to offset?   No  Yes
 3.11     Nonpriority creditor's name and mailing address                  As of the petition filing date, the claim is: Check all that apply.          $22,814.54
          MedShift                                                          Contingent
                                                                            Unliquidated
          525 N Tryon St Ste 1600                                           Disputed
          Charlotte, NC 28202-0213
                                                                           Basis for the claim: Viora-Dermafuse & Pristine Pro
          Date(s) debt was incurred
          Last 4 digits of account number                                  Is the claim subject to offset?   No  Yes




Official Form 206 E/F                                       Schedule E/F: Creditors Who Have Unsecured Claims                                                Page 2 of 5
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 3.12     Nonpriority creditor's name and mailing address                  As of the petition filing date, the claim is: Check all that apply.         $143,755.42
          MedShift                                                          Contingent
                                                                            Unliquidated
          525 N Tryon St Ste 1600                                           Disputed
          Charlotte, NC 28202-0213
                                                                           Basis for the claim: Viora-Elysion Preime
          Date(s) debt was incurred
          Last 4 digits of account number                                  Is the claim subject to offset?   No  Yes
 3.13     Nonpriority creditor's name and mailing address                  As of the petition filing date, the claim is: Check all that apply.          $51,390.48
          MedShift                                                          Contingent
                                                                            Unliquidated
          525 N Tryon St Ste 1600                                           Disputed
          Charlotte, NC 28202-0213
                                                                           Basis for the claim: Viora-V10
          Date(s) debt was incurred
          Last 4 digits of account number                                  Is the claim subject to offset?   No  Yes
 3.14     Nonpriority creditor's name and mailing address                  As of the petition filing date, the claim is: Check all that apply.           unknown
          REMEX Inc.                                                        Contingent
                                                                            Unliquidated
          307 Wall St                                                       Disputed
          Princeton, NJ 08540-1515
                                                                           Basis for the claim:
          Date(s) debt was incurred
          Last 4 digits of account number                                  Is the claim subject to offset?   No  Yes
 3.15     Nonpriority creditor's name and mailing address                  As of the petition filing date, the claim is: Check all that apply.           unknown
          Savit Collection Agency                                           Contingent
                                                                            Unliquidated
          PO Box 250                                                        Disputed
          East Brunswick, NJ 08816-0250
                                                                           Basis for the claim:
          Date(s) debt was incurred
          Last 4 digits of account number                                  Is the claim subject to offset?   No  Yes
 3.16     Nonpriority creditor's name and mailing address                  As of the petition filing date, the claim is: Check all that apply.          $19,114.20
          Swift Financial                                                   Contingent
                                                                            Unliquidated
          3505 Silverside Rd Ste 200                                        Disputed
          Wilmington, DE 19810-4905
                                                                           Basis for the claim:
          Date(s) debt was incurred
          Last 4 digits of account number                                  Is the claim subject to offset?   No  Yes
 3.17     Nonpriority creditor's name and mailing address                  As of the petition filing date, the claim is: Check all that apply.           unknown
          Telecom                                                           Contingent
                                                                            Unliquidated
          PO Box 4500                                                       Disputed
          Allen, TX 75013-1311
                                                                           Basis for the claim:
          Date(s) debt was incurred
          Last 4 digits of account number                                  Is the claim subject to offset?   No  Yes
 3.18     Nonpriority creditor's name and mailing address                  As of the petition filing date, the claim is: Check all that apply.          $14,254.54
          TKK Broadway Management, LLC                                      Contingent
          c/o Raymond & Raymond                                             Unliquidated
          7 Glenwood Ave Fl 4                                              Disputed
          East Orange, NJ 07017-1061
                                                                           Basis for the claim:
          Date(s) debt was incurred
          Last 4 digits of account number                                  Is the claim subject to offset?   No  Yes




Official Form 206 E/F                                       Schedule E/F: Creditors Who Have Unsecured Claims                                                Page 3 of 5
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 Debtor       Deldor Wellness, Inc.                                                                  Case number (if known)
              Name

 3.19      Nonpriority creditor's name and mailing address                 As of the petition filing date, the claim is: Check all that apply.                unknown
           True Business Funding, LLC                                       Contingent
                                                                            Unliquidated
           301 Mill Rd Ste U-5                                              Disputed
           Hewlett, NY 11557-1291
                                                                           Basis for the claim:
           Date(s) debt was incurred
           Last 4 digits of account number                                 Is the claim subject to offset?    No  Yes
 3.20      Nonpriority creditor's name and mailing address                 As of the petition filing date, the claim is: Check all that apply.                unknown
           Utility Self Reported/Public Service Ent                         Contingent
                                                                            Unliquidated
           PO Box 4500                                                      Disputed
           Allen, TX 75013-1311
                                                                           Basis for the claim:
           Date(s) debt was incurred
           Last 4 digits of account number                                 Is the claim subject to offset?    No  Yes
 3.21      Nonpriority creditor's name and mailing address                 As of the petition filing date, the claim is: Check all that apply.              $56,511.00
           Viora Sinclair Company                                           Contingent
                                                                            Unliquidated
           213 W 35th St                                                    Disputed
           New York, NY 10001-1903
                                                                           Basis for the claim:
           Date(s) debt was incurred
           Last 4 digits of account number                                 Is the claim subject to offset?    No  Yes
 3.22      Nonpriority creditor's name and mailing address                 As of the petition filing date, the claim is: Check all that apply.             $164,811.48
           Yunis Properties, Inc.                                           Contingent
                                                                            Unliquidated
           32 Washington St                                                 Disputed
           Tenafly, NJ 07670-3216
                                                                           Basis for the claim:
           Date(s) debt was incurred
           Last 4 digits of account number                                 Is the claim subject to offset?    No  Yes

 Part 3:      List Others to Be Notified About Unsecured Claims

4. List in alphabetical order any others who must be notified for claims listed in Parts 1 and 2. Examples of entities that may be listed are collection agencies, assignees
   of claims listed above, and attorneys for unsecured creditors.

   If no others need to be notified for the debts listed in Parts 1 and 2, do not fill out or submit this page. If additional pages are needed, copy the next page.

           Name and mailing address                                                                 On which line in Part1 or Part 2 is the        Last 4 digits of
                                                                                                    related creditor (if any) listed?              account number, if
                                                                                                                                                   any
 4.1       Andrew Sklar, Esq,
           Sklar, LLC                                                                               Line     3.3
           20 Brace Rd Ste 205
           Cherry Hill, NJ 08034-2634                                                                       Not listed. Explain


 4.2       Financial Pacific Leasing, Inc.
           PO Box 4568                                                                              Line     3.3
           Federal Way, WA 98063-4568
                                                                                                            Not listed. Explain

 4.3       Howard D. Lipstein, Esq.
           535 Morris Ave                                                                           Line     3.18
           Springfield, NJ 07081-1038
                                                                                                            Not listed. Explain

 4.4       Lee, LLC
           770 River Rd                                                                             Line     3.22
           Edgewater, NJ 07020-6600
                                                                                                            Not listed. Explain


 Part 4:      Total Amounts of the Priority and Nonpriority Unsecured Claims

Official Form 206 E/F                                       Schedule E/F: Creditors Who Have Unsecured Claims                                                   Page 4 of 5
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             Name


5. Add the amounts of priority and nonpriority unsecured claims.
                                                                                                                Total of claim amounts
 5a. Total claims from Part 1                                                                     5a.       $                          0.00
 5b. Total claims from Part 2                                                                     5b.   +   $                    485,095.74
 5c. Total of Parts 1 and 2
     Lines 5a + 5b = 5c.                                                                          5c.       $                      485,095.74




Official Form 206 E/F                                       Schedule E/F: Creditors Who Have Unsecured Claims                                        Page 5 of 5
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          Fill in this information to identify the case:

 Debtor name        Deldor Wellness, Inc.

 United States Bankruptcy Court for the:           DISTRICT OF NEW JERSEY, NEWARK DIVISION

 Case number (if known)
                                                                                                                                  Check if this is an
                                                                                                                                     amended filing


Official Form 206G
Schedule G: Executory Contracts and Unexpired Leases                                                                                                  12/15
Be as complete and accurate as possible. If more space is needed, copy and attach the additional page, number the entries consecutively.

1.    Does the debtor have any executory contracts or unexpired leases?
       No. Check this box and file this form with the debtor's other schedules. There is nothing else to report on this form.
    Yes. Fill in all of the information below even if the contacts of leases are listed on Schedule A/B: Assets - Real and Personal      Property (Official
Form 206A/B).

 2. List all contracts and unexpired leases                                       State the name and mailing address for all other parties with
                                                                                  whom the debtor has an executory contract or unexpired
                                                                                  lease

 2.1.        State what the contract or                     Equipment
             lease is for and the nature of                 Lease-Viora/Dermafuse
             the debtor's interest                          and Pristine Pro

                 State the term remaining
                                                                                      MedShift
               List the contract number of                                            525 N Tryon St
                any government contract                                               Charlotte, NC 28202-0202


 2.2.        State what the contract or                     Equipment Lease-Viora
             lease is for and the nature of                 Elysion/Preime
             the debtor's interest

                 State the term remaining

               List the contract number of                                            MedShift
                any government contract


 2.3.        State what the contract or                     Equipment Lease-Viora
             lease is for and the nature of                 V10
             the debtor's interest

                 State the term remaining

               List the contract number of                                            Medshift
                any government contract


 2.4.        State what the contract or                     Equipment Lease-V20
             lease is for and the nature of
             the debtor's interest

                 State the term remaining                   Contract expires in
                                                            2027                      Viora Sinclair Company
               List the contract number of                                            213 W 35th St
                any government contract                                               New York, NY 10001-1903




Official Form 206G                              Schedule G: Executory Contracts and Unexpired Leases                                                  Page 1 of 1
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           Fill in this information to identify the case:

 Debtor name        Deldor Wellness, Inc.

 United States Bankruptcy Court for the:           DISTRICT OF NEW JERSEY, NEWARK DIVISION

 Case number (if known)
                                                                                                                            Check if this is an
                                                                                                                                amended filing


Official Form 206H
Schedule H: Your Codebtors                                                                                                                         12/15

Be as complete and accurate as possible. If more space is needed, copy the Additional Page, numbering the entries consecutively. Attach the
Additional Page to this page.

      1. Do you have any codebtors?

  No. Check this box and submit this form to the court with the debtor's other schedules. Nothing else needs to be reported on this form.
 Yes
   2. In Column 1, list as codebtors all of the people or entities who are also liable for any debts listed by the debtor in the schedules of creditors,
      Schedules D-G. Include all guarantors and co-obligors. In Column 2, identify the creditor to whom the debt is owed and each schedule on which the
      creditor is listed. If the codebtor is liable on a debt to more than one creditor, list each creditor separately in Column 2.
            Column 1: Codebtor                                                                          Column 2: Creditor


              Name                            Mailing Address                                    Name                            Check all schedules
                                                                                                                                 that apply:
     2.1     Delma Rodriguez                  60 Oak St Apt 204                                  Block, Inc.                     D
                                              East Rutherford, NJ 07073-1204                                                     E/F         3.2
                                                                                                                                 G


     2.2     Delma Rodriguez                  60 Oak St Apt 204                                  Everest Business                D          2.4
                                              East Rutherford, NJ 07073-1204                     Funding                          E/F
                                                                                                                                 G


     2.3     Delma Rodriguez                  60 Oak St Apt 204                                  Funding Circle                  D
                                              East Rutherford, NJ 07073-1204                                                     E/F         3.6
                                                                                                                                 G


     2.4     Delma Rodriguez                  60 Oak St Apt 204                                  Funding Metrics                 D
                                              East Rutherford, NJ 07073-1204                                                     E/F         3.7
                                                                                                                                 G


     2.5     Delma Rodriguez                  60 Oak St Apt 204                                  Hitachi Capital                 D
                                              East Rutherford, NJ 07073-1204                     America Corp.                   E/F         3.8
                                                                                                                                 G


     2.6     Delma Rodriguez                  60 Oak St Apt 204                                  Lendini                         D
                                              East Rutherford, NJ 07073-1204                                                     E/F         3.9
                                                                                                                                 G




Official Form 206H                                                      Schedule H: Your Codebtors                                            Page 1 of 2
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            Additional Page to List More Codebtors
           Copy this page only if more space is needed. Continue numbering the lines sequentially from the previous page.
            Column 1: Codebtor                                                           Column 2: Creditor

              Name                            Mailing Address                              Name                         Check all schedules
                                                                                                                        that apply:
     2.7     Delma Rodriguez                  60 Oak St Apt 204                            Loan Builders/Swift          D
                                              East Rutherford, NJ 07073-1204               Financial                    E/F       3.10
                                                                                                                        G


     2.8     Delma Rodriguez                  60 Oak St Apt 204                            REMEX Inc.                   D
                                              East Rutherford, NJ 07073-1204                                            E/F       3.14
                                                                                                                        G


     2.9     Delma Rodriguez                  60 Oak St Apt 204                            Savit Collection             D
                                              East Rutherford, NJ 07073-1204               Agency                       E/F       3.15
                                                                                                                        G


     2.10 Delma Rodriguez                     60 Oak St Apt 204                            Swift Financial              D
                                              East Rutherford, NJ 07073-1204                                            E/F       3.16
                                                                                                                        G


     2.11 Delma Rodriguez                     60 Oak St Apt 204                            Telecom                      D
                                              East Rutherford, NJ 07073-1204                                            E/F       3.17
                                                                                                                        G


     2.12 Delma Rodriguez                     60 Oak St Apt 204                            True Business                D
                                              East Rutherford, NJ 07073-1204               Funding, LLC                 E/F       3.19
                                                                                                                        G


     2.13 Delma Rodriguez                     60 Oak St Apt 204                            Utility Self                 D
                                              East Rutherford, NJ 07073-1204               Reported/Public              E/F       3.20
                                                                                           Service Ent                  G




Official Form 206H                                                    Schedule H: Your Codebtors                                  Page 2 of 2
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           Fill in this information to identify the case:

 Debtor name        Deldor Wellness, Inc.

 United States Bankruptcy Court for the:           DISTRICT OF NEW JERSEY, NEWARK DIVISION

 Case number (if known)
                                                                                                                                       Check if this is an
                                                                                                                                          amended filing



Official Form 207
Statement of Financial Affairs for Non-Individuals Filing for Bankruptcy                                                                                      04/22
The debtor must answer every question. If more space is needed, attach a separate sheet to this form. On the top of any additional pages, write
the debtor’
          s name and case number (if known).

 Part 1:      Income

1. Gross revenue from business

       None.
       Identify the beginning and ending dates of the debtor’
                                                            s fiscal year,                    Sources of revenue                          Gross revenue
       which may be a calendar year                                                           Check all that apply                        (before deductions and
                                                                                                                                          exclusions)

       For prior year:                                                                        Operating a business                                 $964,892.00
       From 1/01/2022 to 12/31/2022
                                                                                               Other


       For year before that:                                                                  Operating a business                                 $690,847.00
       From 1/01/2021 to 12/31/2021
                                                                                               Other

2. Non-business revenue
   Include revenue regardless of whether that revenue is taxable. Non-business income may include interest, dividends, money collected from lawsuits, and
   royalties. List each source and the gross revenue for each separately. Do not include revenue listed in line 1.

      None.
                                                                                              Description of sources of revenue           Gross revenue from
                                                                                                                                          each source
                                                                                                                                          (before deductions and
                                                                                                                                          exclusions)

 Part 2:      List Certain Transfers Made Before Filing for Bankruptcy

3. Certain payments or transfers to creditors within 90 days before filing this case
   List payments or transfers--including expense reimbursements--to any creditor, other than regular employee compensation, within 90 days before filing this
   case unless the aggregate value of all property transferred to that creditor is less than $7,575. (This amount may be adjusted on 4/01/25 and every 3 years
   after that with respect to cases filed on or after the date of adjustment.)

      None.
       Creditor's Name and Address                                        Dates                  Total amount of value        Reasons for payment or transfer
                                                                                                                              Check all that apply

4. Payments or other transfers of property made within 1 year before filing this case that benefited any insider
   List payments or transfers, including expense reimbursements, made within 1 year before filing this case on debts owed to an insider or guaranteed or
   cosigned by an insider unless the aggregate value of all property transferred to or for the benefit of the insider is less than $7,575. (This amount may be
   adjusted on 4/01/25 and every 3 years after that with respect to cases filed on or after the date of adjustment.) Do not include any payments listed in line 3.
   Insiders include officers, directors, and anyone in control of a corporate debtor and their relatives; general partners of a partnership debtor and their




Official Form 207                                  Statement of Financial Affairs for Non-Individuals Filing for Bankruptcy                                   page 1

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    relatives; affiliates of the debtor and insiders of such affiliates; and any managing agent of the debtor. 11 U.S.C. § 101(31).

       None.
       Insider's name and address                                         Dates                  Total amount of value          Reasons for payment or transfer
       Relationship to debtor
       4.1.    Owners Mother                                                                                 $8,400.00          repayment of debt

               Mom

5. Repossessions, foreclosures, and returns
   List all property of the debtor that was obtained by a creditor within 1 year before filing this case, including property repossessed by a creditor, sold at a
   foreclosure sale, transferred by a deed in lieu of foreclosure, or returned to the seller. Do not include property listed in line 6.

      None
       Creditor's name and address                           Describe of the Property                                         Date                    Value of property


6. Setoffs
   List any creditor, including a bank or financial institution, that within 90 days before filing this case set off or otherwise took anything from an account of the
   debtor without permission or refused to make a payment at the debtor’       s direction from an account of the debtor because the debtor owed a debt.

      None
       Creditor's name and address                           Description of the action creditor took                          Date action was                  Amount
                                                                                                                              taken

 Part 3:      Legal Actions or Assignments

7. Legal actions, administrative proceedings, court actions, executions, attachments, or governmental audits
   List the legal actions, proceedings, investigations, arbitrations, mediations, and audits by federal or state agencies in which the debtor was involved in any
   capacity—within 1 year before filing this case.

       None.
               Case title                                     Nature of case              Court or agency's name and                 Status of case
               Case number                                                                address
       7.1.    Cherrywood Enterprises,                        Complaint                   Bergen County Law                           Pending
               LLC, assigneee of Financial                                                Division                                    On appeal
               Pacific Leasing vs. Deldor                                                 10 Main St
                                                                                                                                      Concluded
               Day Spa                                                                    Hackensack, NJ
               L-6836-22                                                                  07601-7042

       7.2.    Delma Y Rodiguez                               Bk Filing- Case             US Bankruptcy Court                         Pending
               22-20018                                       Dismissed                                                               On appeal
                                                                                                                                      Concluded

8. Assignments and receivership
   List any property in the hands of an assignee for the benefit of creditors during the 120 days before filing this case and any property in the hands of a
   receiver, custodian, or other court-appointed officer within 1 year before filing this case.

      None

 Part 4:      Certain Gifts and Charitable Contributions

9. List all gifts or charitable contributions the debtor gave to a recipient within 2 years before filing this case unless the aggregate value of the
   gifts to that recipient is less than $1,000

      None
               Recipient's name and address                   Description of the gifts or contributions                  Dates given                             Value


Official Form 207                                  Statement of Financial Affairs for Non-Individuals Filing for Bankruptcy                                       page 2

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 Part 5:       Certain Losses

10. All losses from fire, theft, or other casualty within 1 year before filing this case.

      None
       Description of the property lost and how              Amount of payments received for the loss                    Dates of loss          Value of property
       the loss occurred                                                                                                                                     lost
                                                             If you have received payments to cover the loss, for
                                                             example, from insurance, government compensation, or
                                                             tort liability, list the total received.

                                                             List unpaid claims on Official Form 106A/B (Schedule
                                                             A/B: Assets –Real and Personal Property).

 Part 6:       Certain Payments or Transfers

11. Payments related to bankruptcy
    List any payments of money or other transfers of property made by the debtor or person acting on behalf of the debtor within 1 year before the filing of this
    case to another person or entity, including attorneys, that the debtor consulted about debt consolidation or restructuring, seeking bankruptcy relief, or filing
    a bankruptcy case.

       None.
                 Who was paid or who received the               If not money, describe any property transferred               Dates               Total amount or
                 transfer?                                                                                                                                 value
                 Address
       11.1.     Norgaard, O'Boyle & Hannon
                 184 Grand Ave
                 Englewood, NJ 07631-3578                       Attorney Fee                                                                          $10,000.00

                 Email or website address


                 Who made the payment, if not debtor?




       11.2.     Ralph A. Ferro, Jr., Esq.
                 66 E Main St Ste 3
                 Little Falls, NJ 07424-5629                    Attorney Fees-Prior Counsel                                                           $18,000.00

                 Email or website address


                 Who made the payment, if not debtor?




12. Self-settled trusts of which the debtor is a beneficiary
    List any payments or transfers of property made by the debtor or a person acting on behalf of the debtor within 10 years before the filing of this case to a
    self-settled trust or similar device.
    Do not include transfers already listed on this statement.

      None.
       Name of trust or device                                  Describe any property transferred                     Dates transfers             Total amount or
                                                                                                                      were made                            value

13. Transfers not already listed on this statement
    List any transfers of money or other property by sale, trade, or any other means made by the debtor or a person acting on behalf of the debtor within 2
    years before the filing of this case to another person, other than property transferred in the ordinary course of business or financial affairs. Include both
    outright transfers and transfers made as security. Do not include gifts or transfers previously listed on this statement.

      None.


Official Form 207                                  Statement of Financial Affairs for Non-Individuals Filing for Bankruptcy                                    page 3

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                Who received transfer?                        Description of property transferred or                     Date transfer was        Total amount or
                Address                                       payments received or debts paid in exchange                made                              value

 Part 7:       Previous Locations

14. Previous addresses
    List all previous addresses used by the debtor within 3 years before filing this case and the dates the addresses were used.


      Does not apply
                 Address                                                                                                  Dates of occupancy
                                                                                                                          From-To

 Part 8:       Health Care Bankruptcies

15. Health Care bankruptcies
    Is the debtor primarily engaged in offering services and facilities for:
    - diagnosing or treating injury, deformity, or disease, or
    - providing any surgical, psychiatric, drug treatment, or obstetric care?

       No. Go to Part 9.
           Yes. Fill in the information below.

                 Facility name and address                    Nature of the business operation, including type of services the           If debtor provides meals
                                                              debtor provides                                                            and housing, number of
                                                                                                                                         patients in debtor’
                                                                                                                                                           s care

 Part 9:       Personally Identifiable Information

16. Does the debtor collect and retain personally identifiable information of customers?

           No.
       Yes. State the nature of the information collected and retained.
                  Home Address, Email, Phone Numbers
                  Does the debtor have a privacy policy about that information?
                  No
                   Yes
17. Within 6 years before filing this case, have any employees of the debtor been participants in any ERISA, 401(k), 403(b), or other pension or
    profit-sharing plan made available by the debtor as an employee benefit?

       No. Go to Part 10.
           Yes. Does the debtor serve as plan administrator?


 Part 10:      Certain Financial Accounts, Safe Deposit Boxes, and Storage Units

18. Closed financial accounts
    Within 1 year before filing this case, were any financial accounts or instruments held in the debtor’
                                                                                                        s name, or for the debtor’
                                                                                                                                 s benefit, closed, sold, moved,
    or transferred?
    Include checking, savings, money market, or other financial accounts; certificates of deposit; and shares in banks, credit unions, brokerage houses,
    cooperatives, associations, and other financial institutions.

       None
                 Financial Institution name and               Last 4 digits of           Type of account or           Date account was         Last balance before
                 Address                                      account number             instrument                   closed, sold,             closing or transfer
                                                                                                                      moved, or
                                                                                                                      transferred
       18.1.     Santander Bank                               XXXX-7264                  Checking                    February 2022                    $3,775.42
                 PO Box 12646                                                             Savings
                 Reading, PA 19612-2646                                                   Money Market
                                                                                          Brokerage
                                                                                          Other
Official Form 207                                  Statement of Financial Affairs for Non-Individuals Filing for Bankruptcy                                  page 4

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19. Safe deposit boxes
    List any safe deposit box or other depository for securities, cash, or other valuables the debtor now has or did have within 1 year before filing this case.


      None
       Depository institution name and address                     Names of anyone with access            Description of the contents              Does debtor still
                                                                   to it                                                                           have it?
                                                                   Address

20. Off-premises storage
    List any property kept in storage units or warehouses within 1 year before filing this case. Do not include facilities that are in a part of a building in which
    the debtor does business.


       None
       Facility name and address                                   Names of anyone with access            Description of the contents              Does debtor still
                                                                   to it                                                                           have it?
       Cube Storage                                                                                       Tools and old TV                          No
                                                                                                                                                   Yes


 Part 11:    Property the Debtor Holds or Controls That the Debtor Does Not Own

21. Property held for another
    List any property that the debtor holds or controls that another entity owns. Include any property borrowed from, being stored for, or held in trust. Do not list
    leased or rented property.

    None

 Part 12:    Details About Environment Information

For the purpose of Part 12, the following definitions apply:
      Environmental law means any statute or governmental regulation that concerns pollution, contamination, or hazardous material, regardless of the medium
      affected (air, land, water, or any other medium).

      Site means any location, facility, or property, including disposal sites, that the debtor now owns, operates, or utilizes or that the debtor formerly owned,
      operated, or utilized.

      Hazardous material means anything that an environmental law defines as hazardous or toxic, or describes as a pollutant, contaminant, or a similarly
      harmful substance.

Report all notices, releases, and proceedings known, regardless of when they occurred.

22. Has the debtor been a party in any judicial or administrative proceeding under any environmental law? Include settlements and orders.

       No.
           Yes. Provide details below.

       Case title                                                  Court or agency name and               Nature of the case                       Status of case
       Case number                                                 address

23. Has any governmental unit otherwise notified the debtor that the debtor may be liable or potentially liable under or in violation of an
    environmental law?

       No.
           Yes. Provide details below.

       Site name and address                                       Governmental unit name and                 Environmental law, if known          Date of notice
                                                                   address

24. Has the debtor notified any governmental unit of any release of hazardous material?


Official Form 207                                  Statement of Financial Affairs for Non-Individuals Filing for Bankruptcy                                      page 5

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 Debtor      Deldor Wellness, Inc.                                                                      Case number (if known)




       No.
           Yes. Provide details below.

       Site name and address                                       Governmental unit name and                 Environmental law, if known              Date of notice
                                                                   address

 Part 13:    Details About the Debtor's Business or Connections to Any Business

25. Other businesses in which the debtor has or has had an interest
    List any business for which the debtor was an owner, partner, member, or otherwise a person in control within 6 years before filing this case.
    Include this information even if already listed in the Schedules.

      None
    Business name address                                   Describe the nature of the business               Employer Identification number
                                                                                                              Do not include Social Security number or ITIN.

                                                                                                              Dates business existed

26. Books, records, and financial statements
    26a. List all accountants and bookkeepers who maintained the debtor’
                                                                       s books and records within 2 years before filing this case.
          None
       Name and address                                                                                                                       Date of service
                                                                                                                                              From-To
       26a.1.       Penrose & Associates                                                                                                      2019-2022
                    560 Sylvan Ave
                    Englewood Cliffs, NJ 07632-3119

    26b. List all firms or individuals who have audited, compiled, or reviewed debtor’
                                                                                     s books of account and records or prepared a financial statement within 2
         years before filing this case.

           None
       Name and address                                                                                                                       Date of service
                                                                                                                                              From-To
       26b.1.       Penrose & Associates                                                                                                      2019-2022
                    560 Sylvan Ave
                    Englewood Cliffs, NJ 07632-3119

    26c. List all firms or individuals who were in possession of the debtor’
                                                                           s books of account and records when this case is filed.

           None
       Name and address                                                                                     If any books of account and records are unavailable,
                                                                                                            explain why
       26c.1.       Penrose & Associates
                    560 Sylvan Ave
                    Englewood Cliffs, NJ 07632-3119

    26d. List all financial institutions, creditors, and other parties, including mercantile and trade agencies, to whom the debtor issued a financial statement
         within 2 years before filing this case.

          None
       Name and address

27. Inventories
    Have any inventories of the debtor’
                                      s property been taken within 2 years before filing this case?

       No
           Yes. Give the details about the two most recent inventories.


Official Form 207                                  Statement of Financial Affairs for Non-Individuals Filing for Bankruptcy                                       page 6

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              Name of the person who supervised the taking of the                           Date of inventory        The dollar amount and basis (cost, market,
              inventory                                                                                              or other basis) of each inventory

28. List the debtor’s officers, directors, managing members, general partners, members in control, controlling shareholders, or other people in
    control of the debtor at the time of the filing of this case.

       Name                                         Address                                               Position and nature of any interest    % of interest, if
                                                                                                                                                 any
       Delma Y Rodriguez                            60 River Oaks Dr                                      Owner                                  100%
                                                    Rutherford, NJ 07070



29. Within 1 year before the filing of this case, did the debtor have officers, directors, managing members, general partners, members in control
    of the debtor, or shareholders in control of the debtor who no longer hold these positions?


       No
           Yes. Identify below.


30. Payments, distributions, or withdrawals credited or given to insiders
    Within 1 year before filing this case, did the debtor provide an insider with value in any form, including salary, other compensation, draws, bonuses, loans,
    credits on loans, stock redemptions, and options exercised?

       No
           Yes. Identify below.

              Name and address of recipient                   Amount of money or description and value of                Dates              Reason for providing
                                                              property                                                                      the value

31. Within 6 years before filing this case, has the debtor been a member of any consolidated group for tax purposes?

       No
           Yes. Identify below.

    Name of the parent corporation                                                                            Employer Identification number of the parent
                                                                                                              corporation

32. Within 6 years before filing this case, has the debtor as an employer been responsible for contributing to a pension fund?

       No
           Yes. Identify below.

    Name of the pension fund                                                                                  Employer Identification number of the pension
                                                                                                              fund

 Part 14:    Signature and Declaration

      WARNING -- Bankruptcy fraud is a serious crime. Making a false statement, concealing property, or obtaining money or property by fraud in connection
      with a bankruptcy case can result in fines up to $500,000 or imprisonment for up to 20 years, or both.
      18 U.S.C. §§ 152, 1341, 1519, and 3571.

      I have examined the information in thisStatement of Financial Affairs and any attachments and have a reasonable belief that the information is true and




Official Form 207                                  Statement of Financial Affairs for Non-Individuals Filing for Bankruptcy                                   page 7

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 Debtor      Deldor Wellness, Inc.                                                                      Case number (if known)



       correct.

       I declare under penalty of perjury that the foregoing is true and correct.

 Executed on        August 25, 2023

 /s/
 Signature of individual signing on behalf of the debtor               Printed name

 Position or relationship to debtor

Are additional pages to Statement of Financial Affairs for Non-Individuals Filing for Bankruptcy (Official Form 207) attached?
No
 Yes




Official Form 207                                  Statement of Financial Affairs for Non-Individuals Filing for Bankruptcy                  page 8

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                                                                      Case 23-17422-RG
                                                            B201B (Form 201B) (12/09)
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                                                                                                             United States Bankruptcy Court
                                                                                                         District of New Jersey, Newark Division

                                                            IN RE:                                                                                            Case No.
                                                            Deldor Wellness, Inc.                                                                             Chapter 11
                                                                                                       Debtor(s)

                                                                                           CERTIFICATION OF NOTICE TO CONSUMER DEBTOR(S)
                                                                                               UNDER § 342(b) OF THE BANKRUPTCY CODE

                                                                                             Certificate of [Non-Attorney] Bankruptcy Petition Preparer

                                                            I, the [non-attorney] bankruptcy petition preparer signing the debtor’s petition, hereby certify that I delivered to the debtor the attached
                                                            notice, as required by § 342(b) of the Bankruptcy Code.


                                                            Printed Name and title, if any, of Bankruptcy Petition Preparer                                  Social Security number (If the bankruptcy
                                                            Address:                                                                                         petition preparer is not an individual, state
                                                                                                                                                             the Social Security number of the officer,
                                                                                                                                                             principal, responsible person, or partner of
                                                                                                                                                             the bankruptcy petition preparer.)
                                                                                                                                                             (Required by 11 U.S.C. § 110.)
                                                            X
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                                                            Signature of Bankruptcy Petition Preparer of officer, principal, responsible person, or
                                                            partner whose Social Security number is provided above.

                                                                                                                   Certificate of the Debtor

                                                            I (We), the debtor(s), affirm that I (we) have received and read the attached notice, as required by § 342(b) of the Bankruptcy Code.



                                                            Deldor Wellness, Inc.                                                  X /s/                                                        8/25/2023
                                                            Printed Name(s) of Debtor(s)                                               Signature of Debtor                                            Date


                                                            Case No. (if known)                                                    X
                                                                                                                                       Signature of Joint Debtor (if any)                             Date


                                                            Instructions: Attach a copy of Form B 201A, Notice to Consumer Debtor(s) Under § 342(b) of the Bankruptcy Code.

                                                            Use this form to certify that the debtor has received the notice required by 11 U.S.C. § 342(b) only if the certification has
                                                            NOT been made on the Voluntary Petition, Official Form B1. Exhibit B on page 2 of Form B1 contains a certification by the debtor’s
                                                            attorney that the attorney has given the notice to the debtor. The Declarations made by debtors and bankruptcy petition preparers on
                                                            page 3 of Form B1 also include this certification.
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B2030 (Form 2030) (12/15)
                                                               United States Bankruptcy Court
                                                            District of New Jersey, Newark Division
 In re       Deldor Wellness, Inc.                                                                           Case No.
                                                                              Debtor(s)                      Chapter      11

                            DISCLOSURE OF COMPENSATION OF ATTORNEY FOR DEBTOR
1.     Pursuant to 11 U .S.C. § 329(a) and Fed. Bankr. P. 2016(b), I certify that I am the attorney for the above named debtor(s) and that
       compensation paid to me within one year before the filing of the petition in bankruptcy, or agreed to be paid to me, for services rendered or to
       be rendered on behalf of the debtor(s) in contemplation of or in connection with the bankruptcy case is as follows:

          FLAT FEE
             For legal services, I have agreed to accept                                                 $
             Prior to the filing of this statement I have received                                       $
             Balance Due                                                                                 $

          RETAINER
             For legal services, I have agreed to accept and received a retainer of                      $                10,000.00
             The undersigned shall bill against the retainer at an hourly rate of                   $                          400.00
             [Or attach firm hourly rate schedule.] Debtor(s) have agreed to pay all Court approved
             fees and expenses exceeding the amount of the retainer.


2.     The source of the compensation paid to me was:
              Debtor               Other (specify):

3.     The source of compensation to be paid to me is:
              Debtor               Other (specify):

4.        I have not agreed to share the above-disclosed compensation with any other person unless they are members and associates of my law
            firm.

          I have agreed to share the above-disclosed compensation with a person or persons who are not members or associates of my law firm. A
            copy of the agreement, together with a list of the names of the people sharing in the compensation is attached.

5.       In return for the above-disclosed fee, I have agreed to render legal service for all aspects of the bankruptcy case, including:

       a. Analysis of the debtor's financial situation, and rendering advice to the debtor in determining whether to file a petition in bankruptcy;
       b. Preparation and filing of any petition, schedules, statement of affairs and plan which may be required;
       c. Representation of the debtor at the meeting of creditors and confirmation hearing, and any adjourned hearings thereof;
       d. [Other provisions as needed]


6.     By agreement with the debtor(s), the above-disclosed fee does not include the following service:




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 In re       Deldor Wellness, Inc.                                                                  Case No.
                                                            Debtor(s)

                            DISCLOSURE OF COMPENSATION OF ATTORNEY FOR DEBTOR
                                              (Continuation Sheet)
                                                                        CERTIFICATION
       I certify that the foregoing is a complete statement of any agreement or arrangement for payment to me for representation of the debtor(s) in
 this bankruptcy proceeding.

     August 25, 2023                                                         /s/ Brian G. Hannon
     Date                                                                    Brian G. Hannon
                                                                             Signature of Attorney
                                                                             Norgaard, O'Boyle & Hannon

                                                                             184 Grand Ave
                                                                             Englewood, NJ 07631-3578

                                                                             bhannon@norgaardfirm.com
                                                                             Name of law firm




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                                                                  United States Bankruptcy Court
                                                               District of New Jersey, Newark Division

       IN RE:                                                                                            Case No.
       Deldor Wellness, Inc.                                                                             Chapter 11
                                                             Debtor(s)

                                                             VERIFICATION OF CREDITOR MATRIX
       The above named debtor(s) hereby verify(ies) that the attached matrix listing creditors is true to the best of my(our) knowledge.



       Date: August 25, 2023                                 Signature: /s/
                                                                          ,                                                           Debtor



       Date:                                                 Signature:
                                                                                                                          Joint Debtor, if any




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     Alma Laser
     485 Day Rd
     Buffalo Grove, IL       60089


     Amerifi Capital, LLC
     330 Main St
     Hartford, CT 06106-1860


     Andrew Sklar, Esq,
     Sklar, LLC
     20 Brace Rd Ste 205
     Cherry Hill, NJ 08034-2634


     Block, Inc.
     1455 Market St Ste 600
     San Francisco, CA 94103-1332


     Cedar Advance, LLC
     2917 Avenue I
     Brooklyn, NY 11210-2934


     Cherrywood Enterprises, LLC
     c/o Sklar Law, LLC
     20 Brace Rd Ste 205
     Cherry Hill, NJ 08034-2634


     CHTD Company
     PO Box 2576
     Springfield, IL       62708-2576
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     Clicklease, LLC
     c/o The Law Offices of Joseph A. Molinar
     648 Wyckoff Ave
     Wyckoff, NJ 07481-1428


     Corporation Service Company
     PO Box 2576
     Springfield, IL 62708-2576


     Corporation Service Company
     801 Adlai Stevenson Dr
     Springfield, IL 62703-4261


     Delma Rodriguez
     60 Oak St Apt 204
     East Rutherford, NJ       07073-1204


     Erica R. Gilerman, Esq.
     515 Madison Ave Ste 8108
     New York, NY 10022-5403


     Ershowsky & Verstandig, PLLC
     290 Central Ave Ste 109
     Lawrence, NY 11559-8507


     Everest Business Funding
     8200 NW 52nd Ter Fl 2
     Doral, FL 33166-7852
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     FC Marketplace, LLC
     747 Front St Fl 4
     San Francisco, CA 94111-1922


     Financial Pacific Leasing, Inc.
     PO Box 4568
     Federal Way, WA 98063-4568


     Funding Circle
     85 2nd St Ste 400
     San Francisco, CA       94105-3462


     Funding Metrics
     3220 Tillman Dr Ste 200
     Bensalem, PA 19020-2028


     Goldman, Imani & Goldberg, Inc.
     9894 Bissonnet St
     Houston, TX 77036-8239


     Hitachi Capital America Corp.
     800 Connecticut Ave
     Norwalk, CT 06854-1631


     Howard D. Lipstein, Esq.
     535 Morris Ave
     Springfield, NJ 07081-1038
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     Lee, LLC
     770 River Rd
     Edgewater, NJ    07020-6600


     Lendini
     884 Town Center Dr
     Langhorne, PA 19047-1748


     Lien Solutions
     PO Box 29071
     Glendale, CA 91209-9071


     Loan Builders/Swift Financial
     3505 Silverside Rd
     Wilmington, DE 19810-4905


     MedShift
     525 N Tryon St Ste 1600
     Charlotte, NC 28202-0213


     Merk Funding, Inc.
     3611 14th Ave
     Brooklyn, NY 11218-3773


     Quicksilver Capital
     181 S Franklin Ave
     Valley Stream, NY 11581-1138
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     REMEX Inc.
     307 Wall St
     Princeton, NJ    08540-1515


     Savit Collection Agency
     PO Box 250
     East Brunswick, NJ 08816-0250


     Swift Financial
     3505 Silverside Rd Ste 200
     Wilmington, DE 19810-4905


     Telecom
     PO Box 4500
     Allen, TX 75013-1311


     TKK Broadway Management, LLC
     c/o Raymond & Raymond
     7 Glenwood Ave Fl 4
     East Orange, NJ 07017-1061


     Triton Recovery, LLC
     19790 W Dixie Hwy Ste 301
     Aventura, FL 33180-2293


     True Business Funding, LLC
     301 Mill Rd Ste U-5
     Hewlett, NY 11557-1291
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     Utility Self Reported/Public Service Ent
     PO Box 4500
     Allen, TX 75013-1311


     Viora Sinclair Company
     213 W 35th St
     New York, NY 10001-1903


     Yunis Properties, Inc.
     32 Washington St
     Tenafly, NJ 07670-3216
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                                                United States Bankruptcy Court
                                            District of New Jersey, Newark Division


  IN RE:                                                                          Case No.
  Deldor Wellness, Inc.                                                           Chapter         11
                                   Debtor(s)


                                         CORPORATE OWNERSHIP STATEMENT

        Pursuant to Bankruptcy Rules 1007(a) and Bankruptcy Rule 7007.1, and Local Rules
1007-1, 2003-2, 7007.1-1 and 9014-1(B),

                 ________________Deldor Wellness, Inc.__________, a
                               [Name of Corporate Party]

                          (check one):
                          [ X ] Corporate Debtor

                          [ ] Party to an adversary proceeding

                          [ ] Party to a contested matter

                          [ ] Member of committee of creditors

makes the following disclosure(s):

All corporations, other than a governmental unit, that directly or indirectly own ten percent
(10%) or more of any class of the corporation's equity interests are listed below:
                  _________________________________________________
                  _________________________________________________
                  _________________________________________________
                  _________________________________________________
OR

[X ]    There are no entities that directly or indirectly own 10% or more of any class of the
        corporation's equity interest.

        Dated this 25th day of August, 2023.

                                                                         /s/ Brian G. Hannon
                                                                         Attorney Name, OBA #BG-3645
                                                                         [Address/Telephone/Fax/Email]
                                                                         Brian G. Hannon
                                                                         184 Grand Ave
                                                                         Englewood, NJ 07631-3578
                                                                         Phone: Fax:
                                                                         bhannon@norgaardfirm.com
                                                                         Attorney for Deldor Wellness, Inc.
